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iN THE UNITED sTATEs DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEES JUH -8 PM h= le

WESTERN DIVISION

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CHERYL AUTIN» et al-’ ) W.o`_ic$§:"“t"i?§; i-::éi»is'>z~us
)
Plaintiffs, )
)

vs. ) NO.: 05-2213-Ma-An

)
SOLVAY PHARMACEUTICALS, INC., )
and HAROLD H. SHELVIN. Ph.D., )
)
Defendants. )

 

ORDER T() SHOW CAUSE AND RE-SETTING SCHEDULING CONFERENCE

 

Pursuant to an Order Grantin g Motion for Continuance dated May 4, 2005, (D.E. #l 4) the
scheduling conference originally set for l\/lay 4, 2005 was continued and the parties Were given
until l\/[ay 25, 2005 to submit a joint proposed scheduling order.

On June l, 2005, the parties notified the Court that they Were unable to agree on a joint
proposed scheduling order.

The Scheduling Conference is re-set for TUESDAY, JUNE 21, 2005 at 2:15 p.m. in
Courtroom No. 934, 9"‘ floor ofthe Federal Building, l67 N. Main, Memphis, Tennessee.
Counsel for each party shall submit a proposed scheduling order at least 48 hours in advance of
the Scheduling Conference. All counsel of record are required to appear in person at the
Sclieduling Conference.

Furtherrnore, all counsel Shall be required to show cause Why they Should not be held in

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contempt for failing to prepare and submit the joint proposed scheduling order in a timely

manner as required by the Order Granting Motion for Continuance.

<g./?Tm ad

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT IS SO ORDERED.

Dated: 2&_(

   

UNTED TATES DISTRICT COURT - WE TER DTISICT F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

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